                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )       No.:   3:13-CR-71-TAV-HBG
                                                 )
 KIMBERLY ROBINSON,                              )
                                                 )
              Defendant.                         )

                                         ORDER

       This criminal action is before the Court on the Report and Recommendation (the

 “R&R”) [Doc. 122], entered on November 25, 2013, by United States Magistrate Judge

 H. Bruce Guyton. Neither party has filed any objections to the R&R and enough time has

 passed since the filing of the R&R to treat any objections as having been waived. See 28

 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); Fed. R. Crim. P. 51.

       In the R&R, Judge Guyton recommends that the motion to declare this case

 complex and extended [Doc. 115] be denied because the circumstances of the case do not

 rise the level of those cases that are complex or extended. The Court has reviewed the

 R&R and the record in this case and the Court agrees with the R&R [Doc. 122] and

 hereby ADOPTS the same. The Motion to Have Case Declared Complex and Extended

 [Doc. 115] is hereby DENIED.

       IT IS SO ORDERED.


                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE



Case 3:13-cr-00071-TAV-JEM        Document 126       Filed 12/23/13   Page 1 of 1   PageID
                                        #: 483
